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 1   CARL K. OSBORNE
     STATE BAR NO. 42340
 2   LAW OFFICES OF CARL K. OSBORNE
     2141 Rosecrans Ave., Suite 1130
 3   El Segundo, CA 90245
     PH: (310) 414-9332
 4   FX: (310) 414-9334

 5   Attorney for Defendant
     MICHELLE CHAU NGOC LE
 6

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 8
                                                IN THE UNITED STATES DISTRICT COURT
 9
                           EASTERN DISTRICT OF CALIFORNIA - SACRAMENTO DIVISION
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11
     UNITED STATES OF AMERICA,              )                                                      Case No. CR S-05-0542 GEB
12                                          )
                                            )                                                      STIPULATION RE: PERMISSION FOR
13                     Plaintiff,           )                                                      DEFENDANT TO LEAVE CENTRAL
                                            )                                                      DISTRICT JURISDICTION; ORDER
14                                          )                                                      THEREON
                  vs.                       )
15                                          )
     THO LE, aka DAVE, TRI HUU BUI, TUNG )                                                         Place: Courtroom 10
16   THANH HUYNH, MICHELLE CHAU NGOC )                                                             BEFORE: Judge Garland E. Burrell, Jr.
     LE, NAM GIA PHAMTRAN,                  )
17                                          )
                                            )
18                     Defendants.          )
     ______________________________________ )
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                  IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant MICHELLE CHAU NGOC LE, through her counsel of record that:
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                  1.            Defendant, Michelle Chau Ngoc Le be permitted to leave the jurisdiction of the
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     Central District in order to travel with her family to Las Vegas, Nevada, from
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     December 28, 2007, to January 3, 2008, for a period of three (3) days;
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                  2.            Defendant, Michelle Chau Ngoc Le, upon arriving in Las Vegas, Nevada shall
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     contact her pretrial services officer, Staci Barrios at (714)338-4561, and advise her of the
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     defendant’s location of residence and telephone number in Las Vegas; and
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                  3.            Defendant, Michelle Chau Ngoc Le, upon returning to her place of residence in
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     G :\D O C S \G E B \D G E B 2\O R D E R S FO R S IG N A T U R E \P E R MIS S IO N .T R AV E1
                                                                                                L.003.wpd
               STIPULATION RE; PERMISSION FOR DEFENDANT TO LEAVE CENTRAL DISTRICT JURISDICTION
       Case 2:05-cr-00542-GEB Document 104 Filed 12/20/07 Page 2 of 2


 1   the Central District shall contact her pretrial services officer, Staci Barrios at (714)338-4561, and

 2   advise her of the defendant’s return from Las Vegas, Nevada..

 3
     Dated: December 17, 2007                                                             /s/ CARL K. OSBORNE
 4                                                                                    CARL K. OSBORNE
                                                                                      Attorney for Defendant,
 5                                                                                    MICHELLE CHAU NGOC LE

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 7
     Dated: December 17, 2007                                                           /s/ MATTHEW W. STEGMAN
 8                                                                                    MATTHEW W. STEGMAN
                                                                                      Assistant Untied States Attorney for
 9                                                                                    Plaintiff, UNITED STATES OF AMERICA

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11                                                                                   ORDER

12                               IT IS SO ORDERED.

13   Dated: December 18, 2007
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15                                                                              GARLAND E. BURRELL, JR.
                                                                                United States District Judge
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     G :\D O C S \G E B \D G E B 2\O R D E R S FO R S IG N A T U R E \P E R MIS S IO N .T R AV E2
                                                                                                L.003.wpd
               STIPULATION RE; PERMISSION FOR DEFENDANT TO LEAVE CENTRAL DISTRICT JURISDICTION
